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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION



KRISTEN CAREY DORNBURG                                                                  PLAINTIFF

v.                                    Case No. 4:19-cv-4047

CLAUDIA EARHART and
RYDER INTEGRATED LOGISTICS                                                          DEFENDANTS


                                           JUDGMENT

       The Court has been notified that all claims in this case have been settled. Therefore, the

trial scheduled for the week of March 22, 2021, is cancelled. Further, the Court finds that this

case should be and hereby is DISMISSED WITH PREJUDICE subject to the terms of the

settlement agreement. If any party desires that the terms of settlement be a part of the record,

those terms should be reduced to writing and filed with the court within thirty (30) days of the

entry of this Judgment. The court retains jurisdiction to vacate this order and to reopen this action

upon cause shown that the settlement has not been completed and further litigation is necessary.

       IT IS SO ORDERED, this 11th day of January, 2021.

                                                              /s/ Susan O. Hickey
                                                              Susan O. Hickey
                                                              Chief United States District Judge
